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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 MONEVA WALKER,                                  :
                                                 :     CASE NO.: 3:20-cv-02176
                       Plaintiff,                :
                                                 :     JUDGE JAMES G. CARR
 CEDAR FAIR, L.P., et al.                        :
                                                 :
                       Defendants.               :
                                                 :

                                    Parties’ Joint Status Report

       Now come the parties, by and through counsel, and hereby notify this Honorable Court

that counsel for both parties have been engaged in settlement discussions. The parties hereby

agree to attempt to mediate this matter in front of a private mediator.

       The parties are exchanging information pertinent to the potential class makeup and are

attempting to have meaning settlement discussions at the private mediation.

       The parties hereby agree to notify this Honorable Court once the private mediator has

been selected and a mediation date set.




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Dated: December 15, 2022                    Respectfully submitted:

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                                                     And

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                                                     Counsel for Plaintiffs
                                                     *Admitted Pro Hac Vice


                               CERTIFICATE OF SERVICE

       A copy of the foregoing was filed electronically with the Court. Notice of this filing

will be sent to all counsel by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system.

                                                     /s/ David R. Hudson
                                                     David R. Hudson (0084988)
                                                     Justin D. Harris (0078252)
                                                     Brian D. Sullivan (0063536)




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